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MICHAEL T. FARLEY

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February 27, 2021

Office of the Clerk [AL FE ~

United States District Court

844 North King St Unit 18 MAR 02 2021
Wilmington, DE 19801-3570 i.

 

 

 

 

 

 

US DISTRICT COURT
Dear Sir or Madam: DISTRICT OF DELAWARE

Enclosed pursuant to the Local Rules are the following:

 

 

 

e Objection to Pro Hac Vice Admission

Thank you for your courtesy and cooperation.

Very Truly Yours,

 

Michael TXFarley

MTF/cc

 

 

 
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